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           IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION
                                      )
                                      )
DONNA CURLING, ET AL.                 )
                                      )
                  Plaintiffs,         )
                                      ) Civil Action
          v.                          ) No. 1:17-cv-02989-AT
                                      )
BRIAN KEMP, ET AL.                    )
                                      )
                  Defendants.         )
                                      )

           CLOSING STATEMENT OF PLAINTIFFS
COALITION FOR GOOD GOVERNANCE, LAURA DIGGES, WILLIAM
     DIGGES III, RICARDO DAVIS, AND MEGAN MISSETT




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      Defendants concede two critical matters that compel a decision for Plaintiffs.

First, State Election Director Chis Harvey admitted that, if Georgia’s DREs are

ever not trustworthy to accurately produce election results, then a change to paper

ballots would be in the public interest. Since Defendants mount no affirmative

defense of DREs’ security and admit to doing nothing to scrub and decontaminate

DREs, memory cards, electronic pollbooks, optical scanners, and county tabulation

(GEMS) servers following the extended, August 2016–March 2017 security breach
at KSU’s Center for Election Systems, it is plain that Georgia’s system cannot be

trusted. Harvey’s concession is thus dispositive as to the public interest.

      Second, Harvey conceded that, if ordered, the State and counties could and
would scan all of the expected 3+ million paper ballots that Georgians would cast

in the November election—but it would be “hard.” Fulton Election Director

Richard Barron conceded the same when he said a switch to paper would be “a
headache” and he would decide to cut Fulton County’s early voting to just 3

centers. The threat to punish voters need not be tolerated; it may be prohibited.

What matters is these admissions that the relief of paper ballots is practicable.

      Burdens on the fundamental right to vote “cannot begin to be equated” to

mere administrative inconveniences. Colón-Marrero v. Conty-Pérez, 703 F.3d

134, 145 (1st Cir. 2012). Defendants’ self-serving “guesstimations” that voters

will be burdened by a shift to paper ballots are contradicted by declarations from

those who have actually seen it happen. The motions should be granted.



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     Respectfully submitted this 13th day of September, 2018.


/s/ Bruce P. Brown                        /s/ Robert A. McGuire, III
Bruce P. Brown                            Robert A. McGuire, III
Georgia Bar No. 064460                    Admitted Pro Hac Vice (ECF No. 125)
BRUCE P. BROWN LAW LLC                    Attorney for Coalition
Attorney for Coalition for                for Good Governance
Good Governance
                                          ROBERT MCGUIRE LAW FIRM
1123 Zonolite Rd. NE                      113 Cherry St. #86685
Suite 6                                   Seattle, Washington 98104-2205
Atlanta, Georgia 30306                    (253) 267-8530
(404) 881-0700


/s/ William Brent Ney                     /s/ Cary Ichter
William Brent Ney                         CARY ICHTER
Georgia Bar No. 542519                    Georgia Bar No. 382515
Attorney for Coalition                    Attorney for Coalition
for Good Governance, William              for Good Governance, William
Digges III, Laura Digges, Ricardo         Digges III, Laura Digges, Ricardo
Davis,and Megan Missett                   Davis and Megan Missett

NEY HOFFECKER PEACOCK &                   ICHTER DAVIS LLC
HAYLE, LLC                                3340 Peachtree Road NE
One Midtown Plaza, Suite 1010             Suite 1530
1360 Peachtree Street NE                  Atlanta, Georgia 30326
Atlanta, Georgia 30309                    (404) 869-7600
(404) 842-7232




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         CERTIFICATE OF COMPLIANCE WITH LR 5.1C, NDGa

      I hereby certify pursuant to LR 7.1D, NDGa that the foregoing document has

been prepared with one of the font and point selections approved by this Court in

LR 5.1C, NDGa, using a 14-point Times New Roman font.


                                     /s/ Bruce P. Brown
                                     Bruce P. Brown

                                     Attorney for Plaintiff Coalition for Good
                                     Governance




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                          CERTIFICATE OF SERVICE

      I hereby certify that on September 13, 2018, I electronically filed the

foregoing CLOSING STATEMENT OF COALITION PLAINTIFFS with the

Clerk of Court using the CM/ECF system, which will automatically send email

notification of such filing to all attorneys of record, according to the Court’s

Electronic Mail Notice List.


                                        /s/ Bruce P. Brown
                                        Bruce P. Brown

                                        Attorney for Plaintiff Coalition for Good
                                        Governance




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